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                                          UNITED STATES DISTRICT COURT
                                      FOR THE EASTERN DISTRICT OF MICHIGAN
                                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,

v.                                                                                         Case No. 10-CR-20320-2

DANIEL THOMAS,

           Defendant.
___________________________________/

                           ORDER DENYING MOTION FOR SENTENCE REDUCTION

            The defendant having moved for reduction of the term of imprisonment under 18

U.S.C. § 3582(c)(2) based on a guideline sentencing range that has been subsequently

lowered and made retroactive pursuant to 28 U.S.C. § 994(u), and counsel having been

appointed to represent the defendant, and defendant having informed the court in a

memorandum filed by counsel that defendant is not eligible for sentence reduction, the

motion has been effectively withdrawn. Accordingly,

            IT IS ORDERED that defendant’s motion for sentence reduction is DENIED.



Date: January 5, 2012

                                                                          s/Robert H. Cleland
                                                                          ROBERT H. CLELAND
                                                                          United States District Judge




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